Case 2:04-cv-03027-STA-Cgc Document 9 Filed 08/08/05 Page 1 of 3 Page|D 6

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UNITED STATES DISTRICT COURT v
FOR THE WESTERN DISTRICT OF TENNESSEE 35 AUG ~.8 pH 3. 53

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SMITH & NEPHEW, lNC._,

  
 

 

Pl aintiff,
V.

NEW I~IAMPSHIRE INSURANCE
COMPANY and ALLIED WORLD
ASSURANCE COMPANY LTD.,

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) No. 04-3027-B/V
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Defendants. )
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ORDER ENLARGING TIME

 

On joint motion by plaintiff Smith & Nephew_, lne., defendant New Hampshire lnsurance
Cornpany, and defendant Allied World Assuranee Company Ltd., presenting adequate cause
under Fed. R. Civ. P. 6(b), the following is Ordered:

l. The period to answer or otherwise respond to plaintiff Smith & Nephew’s
complaint is enlarged to ninety (90) days from the date of this Order.

2. lt` this ease is not resolved within 90 days from the date hereof, Defendants are
given 30 days thereafter to respond to the Cornplaint.

3. The Court will defer any scheduling under Rule 16(b) in this action until after the

expiration of the above time extensions

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATED

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-03027 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

